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         < Details         Inventory Record                 PDF


          Gate Arms (Pedestrian)
          N/A


          Gate Configuration
          N/A


          Gate Configuration Type
          N/A


          Cantilevered (or Bridged) Flashing Light Structures     -




          Over Traffic Lane
          0



          Cantilevered (or Bridged) Flashing Light Structures    -




          Not Over Traffic Lane
          0



          Cantilevered (or Bridged) Flashing Light Structures
          (Specify Type)
          N/A


          Mast Mounted Flashing Lights (count of masts)
          0



          Mast Mounted Flashing Lights (Specify Type)
          N/A


          Back Lights Included
          N/A


          Side Lights Included
          N/A


          Total Count of Flashing Light Pairs
          0



          Original Installation Date of Current Active Warning
          Devices: (MM/YY)
          Not Required


         Wayside Horn
         No
